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10
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11
                                 IN THE UNITED STATES DISTRICT COURT
12
                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13
   CALIFORNIA COALITION FOR WOMEN
14 PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
   G.M.; A.S.; and L.T., individuals on behalf of   CASE NO. 4:23-CV-04155-YGR
15 themselves and all others similarly situated,

16                       Plaintiffs
                  v.
17
   UNITED STATES OF AMERICA FEDERAL                 UNITED STATES’ NOTICE OF INTENT TO
18 BUREAU OF PRISONS, a governmental entity;        CALL REBUTTAL WITNESSES,
   BUREAU OF PRISONS DIRECTOR                       PRELIMINARY INJUNCTION
19 COLETTE PETERS, in her official capacity;        EVIDENTIARY HEARING
   FCI DUBLIN WARDEN THAHESHA JUSINO,
20 in her official capacity; OFFICER
   BELLHOUSE, in his individual capacity;
21 OFFICER GACAD, in his individual capacity;
   OFFICER JONES, in his individual capacity;
22 LIEUTENANT JONES, in her individual
   capacity; OFFICER LEWIS, in his individual
23 capacity; OFFICER NUNLEY, in his individual
   capacity, OFFICER POOL, in his individual
24 capacity, LIEUTENANT PUTNAM, in his
   individual capacity; OFFICER SERRANO, in
25 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
26 individual capacity; and OFFICER VASQUEZ,
   in her individual capacity,
27
                      Defendants.
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     UNITED STATES’ NOI REBUTTAL WITNESSES, PRELIMINARY INJUNCTION EVIDENTIARY HEARING
                                                               CASE NO. 4:23-CV-04155-YGR
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           Case 4:23-cv-04155-YGR Document 109 Filed 01/07/24 Page 2 of 2



 1        1. Campos, Constance. Ms. Campos is a correctional counselor. She is expected to testify about

 2           the pat search of K.D. as referenced in K.D.’s sworn testimony.

 3        2. Dulgov, Arthur. Mr. Dulgov is FCI Dublin’s interim Warden. He is expected to testify about

 4           his current role and plans moving forward, confined to the scope of issues raised by

 5           Plaintiffs’ witnesses. 1

 6        3. H., A. A.H. is currently incarcerated at FCI Dublin. She is expected to testify about current

 7           conditions at FCI Dublin, including but not limited to the risk of sexual assault by current

 8           staff and retaliation for reporting sexual assault, confined to the scope of issues raised by

 9           Plaintiffs’ witnesses. 2

10        Dated this 7th day of January 2024.

11
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12                                                    United States Attorney
13                                                    District of Montana

14
                                                      Madison L. Mattioli
15                                                    MADISON L. MATTIOLI
                                                      Assistant United States Attorney
16                                                    District of Montana
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27        1 Subject to removal based on time constraints.

          2 Subject to removal based on time constraints.
28
     UNITED STATES’ NOI REBUTTAL WITNESSES, PRELIMINARY INJUNCTION EVIDENTIARY HEARING
                                                               CASE NO. 4:23-CV-04155-YGR
30                                                   2
